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                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

In re                                                          §           CHAPTER 11
                                                               §
ATP OIL & GAS CORPORATION,                                     §           CASE NO. 12-36187
                                                               §
         Debtor.                                               §           HON. MARVIN ISGUR
                                                               §
                                                               §
OMEGA NATCHIQ, INC,                                            §
                                                               §
         Plaintiff,                                            §
                                                               §
VS.                                                            §           ADV. PROC. NO. 14-03301
                                                               §
ATP INFRASTRUCTURE                                             §
PARTNERS, L.P.                                                 §
                                                               §
         Defendant.                                            §

                         ATP INFRASTRUCTURE PARTNERS, L.P.’S
                      MOTION FOR WITHDRAWAL OF THE REFERENCE

         ATP Infrastructure Partners, L.P., a Delaware limited partnership (“Defendant”), files this

Motion (this “Motion”)1 seeking withdrawal of the reference pursuant to 28 U.S.C. § 157(d),

Rule 5011(a) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Local

Rule 5011-1 of the Bankruptcy Local Rules for the United States Bankruptcy Court for the

Southern District of Texas (the “Local Rules”). In support, Defendant respectfully states:




1
    This Motion contains references to docket entries in multiple cases and courts. For clarity, references to docket
    entries in this Adversary Proceeding, Adv. Proc. No. 14-03301 (this “Adversary Case”), are noted as “Adv. Dkt.
    No.” References to docket entries in the bankruptcy case of ATP Oil & Gas Corporation (the “Debtor” or
    “ATP”), Case No. 12-36817 (the “Bankruptcy Case”), are noted as “Bankr. Dkt. No.” References to docket
    entries in the parallel proceeding initiated by Plaintiff against Defendant in the United States District Court for
    the Eastern District of Louisiana, Case No. 13-04985 (the “Louisiana District Court Case”), are noted as “La.
    Dkt. No.”



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I.        PRELIMINARY STATEMENT2

          1.       The limits of bankruptcy jurisdiction must necessarily frame whether withdrawal

of the reference under 28 U.S.C. § 157(d) is appropriate. Generally, the seminal case in the Fifth

Circuit on withdrawal of the reference indicates that the “good cause” standard of § 157(d) is

protect the authority of bankruptcy courts to hear matters which could affect the rights of a

bankruptcy debtor and its creditors. See Holland America Ins. Co. v. Succession of Roy, 777

F.2d 992, 998 (5th Cir. 1985) (“[T]he district court’s decision to hear a case like the present one,

which will adjudicate the rights of the debtor and its creditors to insurance policy proceeds, must

be based on a sound, articulated foundation.”) (emphasis added). Consequently, the so-called

Holland America factors, which guide district courts in determining whether to withdraw the

reference, rely heavily upon the impact a proceeding may have on the underlying Bankruptcy

Case. Said another way, the Holland America factors countenance against withdrawal of the

reference if withdrawal would infringe on a bankruptcy court’s ability to efficiently hear and

resolve matters which affect the estate being administered.

          2.       Alternatively, this Adversary Case is a state-law dispute among non-debtors

relating to non-estate property. The outcome of this Adversary Case will not adjudicate the

rights of the debtor or the rights of a creditor with respect to the bankrupt estate, and the matter is

unquestionably non-core. Accordingly, the good cause exists to withdraw the reference because

there is no bankruptcy justification for this Adversary Case to be heard by the Bankruptcy Court.




2
     Capitalized terms used in this Preliminary Statement shall have the meaning ascribed to them in the body of the
     Motion.


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II.        STATEMENT PURSUANT TO BANKRUPTCY RULE 7012

           3.       Although the Complaint failed to include an allegation whether this Adversary

Case is core or non-core, Defendant submits that this Adversary Case is non-core. Defendant

does not consent to entry of final orders or judgment by the United States Bankruptcy Court for

the Southern District of Texas, Houston Division (the “Bankruptcy Court”).3

III.       FACTUAL BACKGROUND

           A.       THE INNOVATOR

           4.       Defendant, a non-debtor entity, is the owner of the ATP Innovator Floating

Platform Unit, Official Number 575567 (the “Innovator”).

           5.       Previously, the Innovator was operated by the Debtor at the Lease Block 711 of

Mississippi Canyon in the United States Gulf of Mexico (“MC 711”). The Debtor’s use and

operation of the Innovator was governed by a Platform Use Agreement dated as of March 6,

2009 (as amended, the “Platform Use Agreement”) between Defendant and the Debtor.

           B.       THE BANKRUPTCY CASE

           6.       On August 17, 2012 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under chapter 11 of the United States Bankruptcy Code (the “Bankruptcy Code”) in the

Bankruptcy Court thereby initiating the Bankruptcy Case.

           7.       On June 13, 2013, the Bankruptcy Court entered an order (the “Rejection Order”)

[Bankr. Dkt. No. 1999] authorizing rejection of, inter alia, the Platform Use Agreement, as well

as other related contracts between the Debtor and Defendant. The Rejection Order also provided

for the abandonment of the Debtor’s interest in MC 711.




3
      Contemporaneously herewith, Defendant will file a motion to dismiss for, inter alia, lack of subject matter
      jurisdiction and failure to state a claim.


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       8.      The Innovator was decommissioned pursuant to that certain June 14, 2013 order

from Tommy Beaudreau, Acting Assistant Secretary of the United States Department of Interior

(“DOI”), as further implemented by that certain MC 711 Maintenance and Decommissioning

Agreement, dated August 29, 2013, by and among (a) the Debtor, (b) Anadarko Petroleum

Corporation, (c) Anadarko E&P Onshore LLC, and (d) the DOI, and approved by the

Bankruptcy Court on October 10, 2013 (such order as implemented, the “Decommissioning

Order”). See Bankr. Dkt. Nos. 2527 and 2663.

       9.      The Innovator has been removed from MC 711 and is now moored at a shipyard

located in Aransas Pass, Texas.

       10.     Plaintiff received actual notice of the Rejection Order and Decommissioning

Order by virtue of its appearance and active participation in the Bankruptcy Case. Additionally,

Plaintiff has been aware that the Innovator is located at the Aransas Pass facility for several

months. Plaintiff’s personnel and agents also engaged in a two-day inspection of the Innovator

on June 17 and 18, 2014.

       C.      PLAINTIFF’S ALLEGED RELATIONSHIP WITH THE DEBTOR

       11.     Plaintiff allegedly provided goods and services to the Debtor aboard the Innovator

beginning in February 2008 through June 2013. Complaint at ¶ 10. Specifically, Plaintiff asserts

that the Debtor owes Plaintiff approximately $2.2 million for unpaid goods and services provided

to the Debtor. Complaint at ¶ 12. Plaintiff also asserts entitlement to an administrative claim

against the Debtor for good and services provided after the Petition Date, as awarded by the

Bankruptcy Court on March 18, 2014 in the amount of $649,026.47 [Bankr. Dkt. No. 3024].

       12.     Plaintiff, however, does not have a legal relationship, contractual or otherwise,

with Defendant. Defendant denies that Plaintiff is entitled to any relief against Defendant.




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        D.      LOUISIANA DISTRICT COURT CASE

        13.     On July 3, 2013, almost one year after the Petition Date, Plaintiff filed a

Complaint (the “Louisiana Complaint”) [La. Dkt. No. 1] in the United States District Court for

the Eastern District of Louisiana (the “Louisiana District Court”) initiating the Louisiana District

Court Case. Pursuant to the Louisiana Complaint, Plaintiff seeks declaratory recognition of an

alleged privilege under the Louisiana Oil Well Lien Act to secure the amount of $1,293,351.34.

The Louisiana Complaint does not seek a money judgment against Defendant, any form of

injunctive or similar relief against the Innovator, or any other relief or remedies under federal

law, state law, common law, or equity.

        14.     On July 9, 2014, the Louisiana District Court sua sponte entered an order the

“Closure Order”) [La. Dkt. No. 68] dismissing the motions for summary judgment without

prejudice. Additionally, the Closure Order indefinitely continued all pre-trial and trial dates and

administratively closed the case. “[W]ithin 30 days of final resolution of [Plaintiff’s] claims in

the Southern District of Texas,” Plaintiff is to file a motion to reopen. (emphasis in original).

        15.     On September 23, 2014 Plaintiff filed the Complaint and initiated this Adversary

Case.

        E.      TEXAS STATE COURT CASE

        16.     Ostensibly admitting that the Bankruptcy Court would not have jurisdiction over

this Adversary Case, Plaintiff commenced yet a third case against Defendant (the “Texas State

Court Case”)4 on October 9, 2014, this time in the District Court of San Patricio County, Texas,

36th Judicial District (the ‘Texas State Court”). In the Texas State Court Case, Plaintiff seeks

similar relief (as well as relief not sought in either the Louisiana District Court Case or this

Adversary Case).

4
    Cause No. S-14-6069CV-A.


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IV.    ARGUMENT AND AUTHORITIES

       17.        Pursuant to 28 U.S.C. § 157(a), a district court may provide for the reference of a

proceeding arising in or related to a case under title 11. Under this authority, the United States

District Court for the Southern District of Texas (the “District Court”) promulgated General Rule

2012-6 which provides for the automatic reference of such cases to the bankruptcy judges of the

District Court.

       18.        Referral under 28 U.S.C. § 157(a) is limited by § 157(d), which provides that a

district court may withdraw the reference for cause shown. The decision to withdraw the

reference is entrusted to the sound discretion of the District Court. Veldekens v. GE HFS

Holdings, Inc., 362 B.R. 762, 765 (S.D. Tex. 2007) (citing Fed. R. Bankr. P. 5011(a); Mirant

Corp. v. Potomac Elec. Power Co., 197 Fed.Appx. 285, 294 (5th Cir. 2006)).

       19.        In the Fifth Circuit, “[t]he factors to be considered when determining whether to

exercise permissive withdrawal of the reference of an adversary proceeding are: (1) whether the

issues are core or non-core; (2) whether withdrawal would foster a more economical use of the

parties’ resources; (3) whether withdrawal would expedite the bankruptcy process; (4) whether

withdrawal reduces forum shopping and confusion; (5) whether jury demands have been made;

and (6) whether withdrawal would promote uniformity in bankruptcy administration.” In re

Morrison, 409 B.R. 384, 385-86 (S.D. Tex. 2009) (citing Holland America, 777 F.2d at 999).

       20.        The balance of these factors weighs in favor of withdrawal. As this Adversary

Case is decidedly non-core (assuming bankruptcy jurisdiction exists, which Defendant contends

it does not), and the remaining factors do not support retention of the reference, withdrawal of

the reference is appropriate.

       21.        Defendant urges that the determination of whether to withdraw the reference

should be guided by the jurisdictional posture of this Adversary Case. Notwithstanding that


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bankruptcy jurisdiction does not exist pursuant to 28 U.S.C. § 1334(b) because the outcome of

this Adversary Case could have no conceivable effect on the Debtor’s bankruptcy estate, even if

bankruptcy jurisdiction were found to exist, it would only exist on the periphery.

       22.     Without belaboring the point, the Debtor is not a party to this Adversary Case,

and the property potentially affected by this Adversary Case (the Innovator) is not property of

the estate.   The Debtor has no legal interest, ownership or otherwise, in the Innovator.

Recognition and enforcement of a privilege is purely a state-law issue and could have no

conceivable effect on the administration of the Debtor’s bankruptcy estate.

       23.     Defendant filed the Louisiana District Court Case seeking substantially the same

relief as sought in this Adversary Case. The only apparent reason Defendant initiated this

Adversary Case in the Bankruptcy Court was to escape its originally chosen forum. There is no

independent reason that this Adversary Case belongs in the Bankruptcy Court.

       24.     Notably, the first Holland America factor, whether the issues presented by the

Adversary Case are core or non-core, strongly supports withdrawal of the reference.

       25.     Core proceedings are those that arise under the Bankruptcy Code or arise in a

bankruptcy case. In re Morrison, 409 B.R. 384, 390 (S.D. Tex. 2009) (adopting the report and

recommendation of Judge Isgur) (citing Wood v. Wood (In re Wood), 825 F.2d 90, 96-97 (5th

Cir. 1987)). “A case arises under title 11 ‘[i]f the proceeding involves a right created by the

federal bankruptcy law.’ A case arises in a case under title 11 ‘[i]f the proceeding is one that

would arise only in bankruptcy.’” Id. (quoting Wood, 825 F.2d at 97). Further, even if a matter

is listed under 28 U.S.C. § 157(d), which lists examples of core matters, it must still be

determined that the matter “arises in” or “arises under.” Id.




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       26.     On the other hand, a proceeding is non-core “[i]f the proceeding does not invoke a

substantive right created by the federal bankruptcy law and is one that could exist outside of

bankruptcy it is not a core proceeding . . . under § 157(c)(1) it is an ‘otherwise related’ or non-

core proceeding.” Id. (quoting Wood, 825 F.2d at 97).

       27.     Though not determinative, “[t]he core versus non-core factor is an important

factor within the permissive withdrawal analysis.” Id. at 392 (S.D. Tex. 2009).

       28.     As more fully set forth in the Motion to Dismiss filed contemporaneously with

this Motion, the Bankruptcy Court does not have subject matter jurisdiction to hear this

Adversary Case under 28 U.S.C. § 1334(b). Assuming arguendo that bankruptcy jurisdiction

exists, this Adversary Case is undoubtedly non-core. Plaintiff’s request for recognition and

enforcement of a privilege on the Innovator is by Plaintiff’s own admission a cause of action

arising under Louisiana law. See Complaint at ¶ 33. Moreover, this Adversary Case does not

invoke a substantive bankruptcy right and could exist outside of bankruptcy (and in fact, this

Adversary Case does, as a practical matter, exist outside of bankruptcy in the Louisiana District

Court and the Texas State Court Case).

       29.     Since the Adversary Case is a non-core matter, this factor weighs in favor of

withdrawal. See Morrison, 409 B.R. at 392 (finding that where non-core issues predominated,

this factor weighed in favor of withdrawal).

       30.     Importantly, the purpose of the Holland America factors is to protect a bankruptcy

court’s ability to efficiently resolve matters which could impact the underlying bankruptcy case.

This purpose is evident in four of the five other Holland America factors:            (1) whether

withdrawal would foster a more economical use of the parties’ resources; (2) whether withdrawal




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would expedite the bankruptcy process, (3) whether withdrawal reduces forum shopping and

confusion, and (4) whether withdrawal would promote uniformity in bankruptcy administration.

       31.     However, where a case can have no impact on the underlying bankruptcy case

(and especially where bankruptcy jurisdiction is questionable at best), the imperatives of the

Holland America factors are not impacted.

       32.     This Adversary Case could have no conceivable effect on the Bankruptcy Case or

the administration of the Debtor’s bankruptcy estate. The Debtor is not a party to the Adversary

Case. The outcome of this Adversary Case will not affect the Debtor’s property, its rights, or its

liabilities. The relief sought by Plaintiff depends solely upon non-bankruptcy law (i.e., state

law), and no provision of the Bankruptcy Code will be invoked.

       33.     The final remaining factor, whether jury demands have been made, is also

inapplicable. Defendant has not made a jury demand in this Adversary Case.

       34.     There is no basis under Holland America that the Bankruptcy Court is more

economical, expeditious, and appropriate as the forum for this Adversary Case than the District

Court. Importantly, because Defendant’s do not consent to final orders or judgments by the

Bankruptcy Court, disposition of this Adversary Case will ultimately be decided by the District

Court. Thus, withdrawal of the reference would result in a more efficient resolution of this

Adversary Case.

       35.     In sum, the balance of the Holland America factors weighs in favor of withdrawal

of the reference. The seeming neutrality of most of the factors stem from the lack of relationship

that this Adversary Case has with the Bankruptcy Case and do not support retention of the

reference. Accordingly, the reference should be withdrawn.




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V.     PRAYER

       Defendant respectfully requests that the District Court withdraw the reference of this

Adversary Case from the Bankruptcy Court pursuant to 28 U.S.C. § 157(d).

Dated: October 23, 2013

                                                    Respectfully submitted,

                                                    VINSON & ELKINS LLP

                                                    /s/ John Paul K. Napier_________________

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                             CERTIFICATE OF SERVICE

      I hereby certify that on October 23, 2014, a true and correct copy of the foregoing
document has been served on Plaintiff by e-mail and U.S. mail.

                                               /s/ John Paul K. Napier_________________
                                               Counsel




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